        Case 1:25-cv-00354-RDM           Document 8       Filed 02/07/25      Page 1 of 9




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNIVERSITY OF CALIFORNIA
 STUDENT ASSOCIATION,

                Plaintiff,

        v.                                                Civil Action No. 25-354 (RDM)

 DENISE CARTER,
 et al.,

                Defendants.


                             STANDING ORDER IN CIVIL CASES

       It is the responsibility of the parties, counsel and the Court to “secure the just, speedy,
and inexpensive determination of every action and proceeding” in federal court. Fed. R. Civ. P.
1. To ensure that this case is resolved fairly and without undue cost or delay, it is hereby
ORDERED that the parties comply with the following directives:

   1. Local Rules

       Counsel shall familiarize themselves with the Local Civil Rules, which are available at
       http://www.dcd.uscourts.gov/court-info/local-rules-and-orders/local-rules. Absent order
       of the Court, the parties shall comply with the Local Civil Rules in all respects.

   2. Contact Information

       All counsel shall ensure that their phone number, current mailing address, and email
       address are correctly listed on the Court’s docket. Pro se parties shall ensure that their
       phone number, current mailing address, and email address are correctly listed on the
       Court’s docket. Any counsel or pro se party whose contact information changes while
       this case is pending should immediately file a notice with their updated information. If
       the Court is unable to contact counsel or a pro se party due to a failure to comply with
       this requirement, the Court may dismiss the action for failure to prosecute or take other
       appropriate action.

   3. Service of Complaint & Standing Order; Removed Actions

       a. Service. The plaintiff(s) must promptly serve the complaint on the defendant(s), in
          accordance with Federal Rule of Civil Procedure 4; file proof of service, in
          accordance with Local Civil Rule 5.3; and ensure that all parties receive a copy of this
   Case 1:25-cv-00354-RDM             Document 8        Filed 02/07/25      Page 2 of 9




      Standing Order. For in forma pauperis plaintiffs, “officers of the [C]ourt” will ensure
      that service on the defendant(s) is properly effected. See 28 U.S.C. § 1915(d).
   b. Removed Action. A defendant removing an action to this Court must refile as a
      supplement to the petition any answer and must promptly ensure that all parties
      receive a copy of this Standing Order. Any pending motion at the time of removal
      must be refiled in this Court by the party seeking relief for the motion to be
      considered. See Fed. R. Civ. P. 81(c)(2). Counsel for the plaintiff shall promptly
      enter her appearance before this Court.
   c. Disclosure Certificate. To facilitate the Court’s determination of the need for recusal,
      in all civil or agency actions where a corporation is a party or intervenor, counsel of
      record for that party or intervenor shall file, in accordance with Federal Rule of Civil
      Procedure 7.1 and Local Civil Rules 7.1 and 26.1, a certificate listing for that party or
      intervenor any parent corporation, subsidiary or affiliate, which to the knowledge of
      counsel has any outstanding securities in the hands of the public, or any publicly held
      corporation owning 10% or more of its stock. Such certificate shall be filed at the
      time of filing the party’s first pleading. Counsel shall have the continuing obligation
      to advise the Court of any change.

4. Communications with Chambers

   Except as authorized in this order, the parties may not contact chambers by telephone. If
   extraordinary circumstances or emergencies so require, however, counsel may contact
   chambers jointly via telephone conference. Chambers will not provide legal advice of
   any kind.

5. Electronic Filing

   a. General Rule. All documents in this case are to be filed electronically, except with
      prior leave of the Court upon good cause shown, and in the case of the exceptions
      noted below.
   b. Format. All electronically filed documents are to be in Portable Data Format (.pdf).
      In order to enable the Court’s efficient resolution of all matters in this case, all filings
      shall be submitted in text-searchable PDF files, directly converted from the word-
      processing format into PDF format so as to preserve searchability and readability.
      Exhibits that must be scanned because they exist only in paper format need not be
      directly converted from a word-processing program, but, if possible, should be
      submitted as text-searchable files using Optical Character Recognition (“OCR”)
      technology, available in Adobe Acrobat.
   c. Pro Se Parties. In a case involving a pro se party, electronic filing procedures will be
      followed by parties represented by counsel only. Absent separate order of the Court,
      the party appearing pro se shall continue to file documents in paper form with the
      Clerk’s Office. Parties represented by counsel must serve documents upon pro se
      parties in paper form.
   d. Timeliness. The Court may take into consideration technical difficulties experienced
      by a filer when presented a late filing. However, parties who wait until the last
      minute to begin filing are warned that technical difficulties do not necessarily

                                              2
   Case 1:25-cv-00354-RDM            Document 8       Filed 02/07/25      Page 3 of 9




      constitute “good cause” or “excusable neglect” justifying an extension of the
      applicable deadline(s). Fed. R. Civ. P. 6(b). Further, no allowance can be made for
      late filing documents whose time limits are jurisdictional.

6. Courtesy Copies

   For motions for which the total combined submissions from both parties, including
   exhibits, exceeds one hundred pages in total length or for any motion for summary
   judgment, the moving party shall deliver one printed courtesy copy of all of the motion
   papers at the time the reply is filed. In the case of cross-motions, the initial moving party
   shall provide the courtesy copy of the full set of briefing. Courtesy copies should include
   the headers added by the Case Management/Electronic Case Files (CM/ECF) System and
   be submitted in binders, three-hole punched, with double-sided pages. Briefs and
   exhibits shall be tabbed and indexed for ease of reference. Courtesy copies should be
   mailed to chambers, not the Clerk’s Office. If hand delivered, courtesy copies should be
   delivered to the loading dock for screening and should not be delivered directly to
   chambers. If the parties have redacted or filed under seal any portion of the motion
   papers or attendant exhibits, courtesy copies are to be unredacted, but the portions
   redacted from public filings should be highlighted, so that the Court will know to refrain
   from quoting those passages in opinions and orders. Pro se parties are excused from
   complying with the courtesy-copy requirement.

7. Amended Pleadings or Other Filings

   Any amended or proposed amended pleadings or other filings must be accompanied by a
   redline comparison between the original and the amended filing or proposed amended
   filing.

8. Motions

   The parties shall comply with the following instructions when briefing any motion.
   Motions filed not in compliance with this Standing Order may be rejected by the Court.

   a. Tables. Every memorandum of points and authorities that is ten pages or longer in
      length must contain a Table of Contents and Table of Authorities, regardless of
      whether it is filed in support of or in opposition to a motion.
   b. Signature. Every pleading or paper, regardless of whether it is signed by an attorney
      or a pro se party, shall contain the name, address, telephone number, and, for an
      attorney, bar identification number. Where counsel is appearing pro hac vice, the
      signature block shall so indicate.
   c. Sur-Replies. A party may not file a sur-reply without first obtaining leave of the
      Court. Sur-replies will only be permitted upon a specific showing of good cause.
   d. Supplemental Authorities. A party may bring supplemental authorities to the Court’s
      attention without seeking prior leave of the Court, but should refrain from using the
      submission of supplemental authorities as an opportunity to reargue issues or to
      respond to arguments made in an opposing brief. Although the submission of

                                             3
   Case 1:25-cv-00354-RDM           Document 8       Filed 02/07/25      Page 4 of 9




      supplemental authorities should not be made by letter to the clerk, but rather in a
      pleading filed in the usual manner, the parties are otherwise directed to follow the
      procedures set forth in Federal Rule of Appellate Procedure 28(j).

9. Motions to Dismiss

   The parties are reminded that a motion to dismiss presenting matters outside the
   pleadings may be converted to a motion for summary judgment. Fed. R. Civ. P. 12(d). If
   a motion to dismiss presents matters outside the pleadings, all parties must comply fully
   will the instructions set forth below regarding motions for summary judgment.

10. Motions for Summary Judgment

   Parties must comply with the following instructions when briefing motions for summary
   judgment:

   a. All Cases

         i. If a party wishes to move for summary judgment, it must request that the Court
            schedule a pre-motion conference. To so request, the moving party shall submit
            a short notice via ECF, not to exceed six double-spaced pages in length, setting
            forth the basis for the anticipated motion, including the legal standards and the
            claims at issue. Other parties shall respond by filing, within one week, a
            document of similar length setting forth their anticipated responses to the
            proposed motion. The Court will review and discuss with counsel any
            anticipated summary judgment motions at the pre-motion conference. This
            requirement shall not apply to incarcerated pro se litigants.

   b. FOIA Cases

         i. The agency shall provide search declarations and Vaughn indices, if any, to the
            requester prior to seeking a pre-motion conference.

   c. Cases Involving Judicial Review of Agency Action

         i. In accordance with Local Civil Rule 7(h)(2), each motion for summary
            judgment, and opposition thereto, shall include a statement of facts with
            references to the administrative record. The parties must furnish precise
            citations to the portions of the administrative record on which they rely; the
            Court need not consider materials not specifically identified. See Fed. R. Civ.
            P. 56(c)(3).
        ii. In accordance with Local Civil Rule 7(n), the parties shall provide the Court
            with a joint appendix containing copies of those portions of the administrative
            record that are cited or otherwise relied upon in any memorandum in support of,
            or in opposition to, a motion for summary judgment. If the joint appendix


                                           4
   Case 1:25-cv-00354-RDM           Document 8       Filed 02/07/25     Page 5 of 9




            exceeds one hundred pages, the parties shall provide two (2) printed courtesy
            copies to chambers, as described above.

   d. Other Cases

         i. The Court strictly adheres to the dictates of Local Civil Rule 7(h), which
            requires that each party submitting a motion for summary judgment attach a
            statement of material facts for which that party contends there is no genuine
            dispute, with specific citations to those portions of the record upon which the
            party relies in fashioning the statement. The party opposing the motion must, in
            turn, submit a statement enumerating all material facts which the party contends
            are genuinely disputed and thus require trial.
        ii. The parties must furnish precise citations to the portions of the record on which
            they rely; the Court need not consider materials not specifically identified. See
            Fed. R. Civ. P. 56(c)(3). Parties are directed to Section 14 of this Standing
            Order for citation conventions.
       iii. The moving party’s statement of material facts shall be a short and concise
            statement, in numbered paragraphs, of all material facts as to which the moving
            party claims there is no genuine dispute. The statement must contain only one
            factual assertion in each numbered paragraph, and each factual assertion must
            include a precise citation to the relevant portion of the record.
       iv. The party responding to a statement of material facts must respond to each
            paragraph with a correspondingly numbered paragraph, indicating whether that
            paragraph is admitted or denied. If a paragraph is admitted only in part, the
            party must specifically identify which parts are admitted and which parts are
            denied.
        v. The Court may assume that facts identified by the moving party in its statement
            of material facts are admitted, unless such facts are controverted in the
            statement filed in opposition to the motion and are supported by a precise
            citation to the controverting evidence. Local Civil Rule 7(h).
       vi. The responding party must include any information relevant to its response in
            its correspondingly numbered paragraph, with specific citations to the record.
            However, if the responding party has additional facts that are not directly
            relevant to its response, it must identify such facts in consecutively numbered
            paragraphs at the end of its responsive statement of facts. If additional factual
            allegations are made, the opponent must file a responsive statement of its own.

11. Motions for Reconsideration

   Motions for reconsideration are strongly discouraged. The Court will not entertain a
   motion that (a) reasserts arguments previously raised and rejected by the Court or (b)
   raises for the first time arguments that should have been advanced in the original motion.




                                            5
   Case 1:25-cv-00354-RDM            Document 8       Filed 02/07/25      Page 6 of 9




12. Motions for Extension of Time

   Extensions or enlargements of time will only be granted upon motion, and not upon
   stipulation by the parties. Any party that intends to seek an extension must make a
   meaningful effort to ascertain the opposing party’s position with respect to the extension
   before filing a motion; an eleventh-hour telephone or email message left for opposing
   counsel, for example, will not typically satisfy the meet-and-confer requirement. Absent
   extraordinary circumstances, contested motions for extension of time shall be filed at
   least three business days before the relevant deadline. Motions for a continuance or other
   scheduling change must include alternative dates that have been agreed to by all parties.
   Requests that do not include an alternative date acceptable to all parties may be denied.

13. Discovery Disputes

   The Court expects the parties to follow Federal Rule of Civil Procedure 26 and Local
   Civil Rule 26.2. Before bringing a discovery dispute to the Court’s attention, the parties
   must confer in good faith in an attempt to resolve the dispute informally. If the parties
   are unable to resolve the discovery dispute, they shall contact the Courtroom Deputy
   Clerk at (202) 354-3084 to arrange for a hearing with the Court. The parties shall not file
   any motions relating to a discovery dispute without leave of the Court.

14. Citation Matters and Cited Authorities

   Parties shall cite the U.S. Code rather than solely to a separately enumerated statute (e.g.,
   “8 U.S.C. § 1182” or “8 U.S.C. § 1182, INA § 212” rather than “INA § 212”). Parties
   citing to unpublished cases or other materials available only on fee-based databases shall
   cite to Westlaw, not Lexis, wherever possible. In cases involving pro se litigants, counsel
   shall, when serving a memorandum of law (or other submission to the Court), provide the
   pro se litigant with copies of cases or other authorities cited therein that are unpublished
   or reported exclusively on computerized databases.

   All record citations, including to briefs, shall be to the page number of the PDF file that
   contains the cited material, not to any internal pagination within the document. For
   previously filed materials, the parties must cite to the ECF-generated page numbers at the
   top of the documents (e.g., Dkt. 50 at 5). For contemporaneously filed materials, each
   exhibit shall be filed as a separate exhibit on ECF and the parties shall cite to the page
   number of the relevant PDF file (e.g., Ex. B at 5). If the document is organized by
   sections or numbered paragraphs, the parties shall provide the section or paragraph in a
   separate parenthetical (e.g., Dkt. 1 at 2 (Compl. ¶ 25)). Absent leave of the Court, parties
   must file the entire exhibit on which they rely, not merely the portions the party deems
   relevant.

15. Settlement

   The parties are expected to evaluate their respective cases for the purposes of settlement.
   The Court encourages the use of alternative dispute resolution—e.g., mediation or neutral

                                            6
       Case 1:25-cv-00354-RDM          Document 8       Filed 02/07/25     Page 7 of 9




      case evaluation. The use of these methods is available at any time, as is a settlement
      conference before a magistrate judge. If counsel are interested in pursuing these options,
      they may contact Chambers at any time. If the case settles in whole or in part, counsel
      shall promptly advise the Court.



                                                           /s/ Randolph D. Moss
                                                           RANDOLPH D. MOSS
                                                           United States District Judge

Date: February 7, 2025




                                               7
        Case 1:25-cv-00354-RDM           Document 8        Filed 02/07/25      Page 8 of 9




     APPENDIX 1: SAMPLE STATEMENT OF UNDISPUTED MATERIAL FACT

                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 JANE DOE,

                Plaintiff,

        v.                                           Civil Action No. __-____ (RDM)

 JOHN ROE,

                Defendant.


            DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL FACT:

       1.      On December 5, 2019 at approximately 5:00 p.m. Plaintiff was in her car and was

traveling eastbound on C St. NW, approaching the intersection with 3rd St. NW. Ex. B at 24

(Doe Dep. 21:12–13) (date and time); id. at 27 (Doe Dep. 24:4–5) (location).

       2.      At the time Plaintiff’s car approached the intersection, the traffic light governing

eastbound traffic on C St. at that intersection was red. Ex. C at 10 (Roe Dep. 8:19–22).




                                                 8
        Case 1:25-cv-00354-RDM            Document 8        Filed 02/07/25      Page 9 of 9




APPENDIX 2: SAMPLE RESPONSE TO STATEMENT OF UNDISPUTED MATERIAL
                              FACT

                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 JANE DOE,

                Plaintiff,

         v.                                           Civil Action No. __-____ (RDM)

 JOHN ROE,

                Defendant.


 PLAINTIFF’S RESPONSE TO THE DEFENDANT’S STATEMENT OF UNDISPUTED
                           MATERIAL FACT

       1.      On December 5, 2019 at approximately 5:00 p.m. Plaintiff was in her car and was

traveling eastbound on C St. NW, approaching the intersection with 3rd St. NW. Ex. B at 24

(Doe Dep. 21:12–13) (date and time); id. at 27 (Doe Dep. 24:4–5) (location).

       Plaintiff’s Response: Undisputed.

       2.      At the time Plaintiff’s car approached the intersection, the traffic light governing

eastbound traffic on C St. at that intersection was red. Ex. C at 10 (Roe Dep. 8:19–22).

       Plaintiff’s Response: Disputed in part. The traffic light governing only left turns was

red. Dkt. 51-3 at 12 (Roe Dep. 10:16–17). At the time Plaintiff’s car was approaching the

intersection, the traffic light governing traffic proceeding through the intersection or turning right

was turning from green to yellow. Id. at 15 (Roe Dep. 13:2–3).




                                                  9
